19-11041-shl    Doc 55     Filed 11/11/19    Entered 11/11/19 09:21:01       Main Document
                                            Pg 1 of 14


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 Counsel for Glen and Alison Kunofsky

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
                                    :
In re:                              :                  Chapter 11
                                    :
ABR BUILDERS LLC,                   :                  Case No.: 19-11041 (SHL)
                                    :
                Debtor.             :
------------------------------------x

                   OBJECTION OF GLEN AND ALISON KUNOFSKY
                    TO APPROVAL OF DISCLOSURE STATEMENT

       Glen and Alison Kunofsky (the “Kunofskys”) file this objection (the “Objection”) to

approval of the Disclosure Statement dated October 3, 2019 (the “Disclosure Statement”) [ECF

No. 45] filed by ABR Builders LLC (the “Debtor”) relating to the Debtor’s Plan of Reorganization

dated October 2, 2019 (as amended on October 8, 2019, the “Plan”). In support of this Objection,

the Kunofskys respectfully represent as follows:

                                       BACKGROUND

       1.      The Kunofskys, through their entities G270 W. 73rd Owner LLC and A270 W.

73rd Owner LLC (collectively, the “Owners”), are the owners of a townhouse located at 270 West

73rd Street, New York, New York (the “Property”).

       2.      In January 2017, the Kunofskys entered into that certain General Contractor

Agreement dated as of January 2017 (as amended, the “Contract”) with the Debtor, pursuant to
19-11041-shl      Doc 55     Filed 11/11/19    Entered 11/11/19 09:21:01         Main Document
                                              Pg 2 of 14


which the Debtor would act as the general contractor (“GC”) in connection with a gut renovation

project of the Property (the “Project”). Under the Contract, the Debtor was to commence work on

the Project beginning February 2017, with substantial completion of the renovation to occur on or

before April 6, 2018.

       3.        The Debtor’s role as GC for the Project was mired by missed milestones, defective

work, and damage to the Property. As a result of the Debtor’s failure to complete the Project by

the agreed-upon date, the Kunofskys, the Debtor and the Debtor’s principal, Bolek Ryzinski (as

guarantor) (“Ryzinksi,” or the “Guarantor”) entered into a First Amendment to Agreement for

General Contractor Services dated March 26, 2019 (the “Amendment”). The Contract and the

Amendment were assigned from the Kunofskys to the Owners under that certain Assignment and

Assumption Agreement (the “Assignment”), which Assignment was acknowledged and agreed to

by the Debtor.

       4.        Pursuant to the Amendment, among other things, (i) the Project schedule was

modified to require substantial completion by May 1, 2019, (ii) the Debtor agreed to pay certain

liquidated damages in the event of its failure to comply with the modified schedule, (iii) the Debtor

agreed to additional protocols for status updates and invoicing, (iv) the Debtor acknowledged and

accepted its obligation to remediate the damages to the Property caused by the water infiltration in

the basement of the Property, and (v) Ryzinski agreed to personally guarantee (the “Guarantee”)

repayment of retainages made by the Kunofskys to the extent that any portion of the work on the

Project was not completed by the Debtor.

       5.        Promptly after the execution of the Amendment, and in reliance on the Debtor’s

and the Guarantor’s assurances that the Project could be completed under the new timetable, the

Kunofskys paid approximately $227,000.00 directly to the Debtor’s subcontractors and vendors,




                                                 2
19-11041-shl        Doc 55       Filed 11/11/19        Entered 11/11/19 09:21:01                Main Document
                                                      Pg 3 of 14


who were otherwise unwilling to continue to work on the Project. The Debtor now admits in its

Disclosure Statement that it had “lost its insurance coverage with the New York State Insurance

Fund (“NYSIF”) resulting in the inability to continue to render contracting work.” Disclosure

Statement ¶ 14. Despite the Debtor’s and the Guarantor’s knowledge that the Debtor would be

unable to perform under the Contract or the Amendment, the Debtor and the Guarantor induced

the Kunofskys to pay hundreds of thousands of dollars to subcontractors and vendors pursuant to

the Amendment on the promise that the Project would be substantially completed by May 1, 2019.

As it turns out, the Debtor was not even able to legally operate until July 15, 2019. See Disclosure

Statement ¶ 15.

         6.       Just a week after the Amendment was executed and the Kunofskys had paid

$227,000.00 directly to subcontractors and vendors, on April 4, 2019 (the “Petition Date”), the

Debtor commenced the above-captioned chapter 11 case in this Court.

         7.       On April 25, 2019, the Kunofskys filed the Motion of Glen and Alison Kunofsky to

Compel the Debtor to Reject General Contractor Agreement as Amended (the “Motion to Compel

Rejection”) [ECF No. 14]. The Motion to Compel Rejection sought to compel the Debtor to

immediately reject the Contract. On May 6, 2019, the Court entered the Consent Order Rejecting

General Contractor Agreement, as Amended (the “Rejection Order”) [ECF No. 19], pursuant to

which the Contract was rejected effective as of the Petition Date.1

         8.       On July 2, 2019, the Court entered an order establishing August 12, 2019, as the

deadline for filing proofs of claim against the Debtor.




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  The Disclosure Statement inaccurately describes the Motion to Compel Rejection as seeking to compel the Debtor
to assume or reject the Contract. See Disclosure Statement ¶ 17. By its own admission, the Debtor “was literally
out of business at the time it filed,” and did not recommence its operations until July 15, 2019. See id. at ¶¶ 13, 15.
There is no possibility that the Debtor could have assumed the Contract and the Kunofskys did not seek to compel
the Debtor to do so.


                                                           3
19-11041-shl     Doc 55     Filed 11/11/19     Entered 11/11/19 09:21:01          Main Document
                                              Pg 4 of 14


       9.      On August 12, 2019, the Kunofskys (through the Owners) filed a proof of claim,

designated as claim number 66 on the Debtor’s claims register, asserting a claim against the Debtor

in the amount of $816,683.58 for damages caused by the Debtor’s breaches of the Contract.

According to the Disclosure Statement, creditors have filed claims totaling $13,458,000 against

the Debtor, of which the Debtor believes at least $9,750,000 are litigation claims.

       10.     On October 3, 2019, the Debtor filed the Disclosure Statement. On October 8,

2019, the Debtor filed a corrected Plan.

       11.     The Plan proposes to pay the claim of the Debtor’s secured lender in the amount of

$128,559.75 in full; to pay priority wage claims in the aggregate amount of $80,707.58 in full over

four years; to pay priority claims of governmental units in the aggregate amount of $426,272.18

in full over four years; and to pay general unsecured claims in the aggregate amount of

approximately $4,000,000 (which does not include any breach of contract and litigation claims)

their pro rata share of proceeds (after payment to the senior classes of claims) from (i) a $200,000

contribution from the Debtor’s principals in four annual installments of $50,000, commencing on

the first year after the effective date of the Plan, (ii) the Debtor’s projected net operating income

in the amount of $450,000 payable in four annual installments of $112,500, and (iii) projected net

proceeds of the Debtor’s litigation against 1143 Fifth, LLC. The Disclosure Statement and Plan

define the proceeds of the foregoing as the “Pot,” from which claims will be paid.

       12.     The Plan further provides that the Debtor’s principals (including the Guarantor)

shall retain their interests in the Debtor and receive a third-party release under the Plan (including

specifically a release from claims under any guarantees) in consideration of the $200,000

contribution payable over four years.




                                                  4
 19-11041-shl         Doc 55     Filed 11/11/19    Entered 11/11/19 09:21:01          Main Document
                                                  Pg 5 of 14


                                               OBJECTION

            13.     By this Objection, the Kunofskys respectfully request that this Court deny approval

     of the Disclosure Statement for the reasons set forth herein.

I.          Standard Governing Approval of Disclosure Statements

            14.     The Bankruptcy Code does not permit the solicitation of the acceptance or rejection

     of a plan unless the Court approves the disclosure statement in connection with the plan as

     containing “adequate information.” Adequate information, in turn, is defined as “information of

     a kind, and in sufficient detail, . . . that would enable [ ] a hypothetical investor of the relevant

     class to make an informed judgment about the plan.” 11 U.S.C. § 1125(a)(1).

            15.     Whether a disclosure statement contains adequate information should be

     determined on a case-by-case basis. See in re PC Liquidation Corp., 383 B.R. 856, 865 (E.D.N.Y.

     2008). At a minimum, however, the disclosure statement must “contain simple clear language

     delineating the consequences of the proposed plan on claims and the possible Code alternatives so

     that they can intelligently accept or reject the plan.” In re Copy Crafters Quickprint, Inc., 92 B.R.

     973, 981 (Bankr. N.D.N.Y. 1988). The legislative history of section 1125 of the Bankruptcy Code

     states that “[t]he disclosure statement was intended by Congress to be the primary source of

     information upon which creditors and shareholders would make an informed judgment about a

     plan of reorganization.” In re Jeppson, 66 B.R. 269, 291 (Bankr. D. Utah 1986). The purpose of

     a disclosure statement is “to give all creditors a source of information which allows them to make

     an informed choice regarding the approval or rejection of a plan.” Duff v. United States Trustee

     (In re California Fid., Inc.), 198 B.R. 567, 571 (B.A.P. 9th Cir. 1996). As a result, a disclosure

     statement should be approved only when it sets forth “all those factors presently known to the plan

     proponent that bear upon the success or failure of the proposals contained in the plan.” In re Scioto

     Valley, 88 B.R. 168, 170 (Bankr. S.D. Ohio 1988).


                                                      5
19-11041-shl     Doc 55      Filed 11/11/19    Entered 11/11/19 09:21:01          Main Document
                                              Pg 6 of 14


         16.    Furthermore, because creditors rely on the disclosure statement prior to voting on

or considering the bona fides of a plan, “it is crucial that a [plan proponent] be absolutely truthful”

so that the disclosure statement satisfies section 1125(a)(1) of the Bankruptcy Code. In re Galeria

Des Monnaies of Geneva, Ltd., 55 B.R. 253, 259 (Bankr. S.D.N.Y. 1985). It is of prime importance

that a proponent’s disclosure be “full and fair.” In re Momentum Mfg. Corp., 25 F.3d 1132, 1136

(2d Cir. 1994). This requires, at a minimum, the disclosure statement to “clearly and succinctly

inform the average unsecured creditor what it is going to get, when it is going to get it, and what

contingencies there are to getting its distribution.” In re Ferretti, 128 B.R. 16, 19 (Bankr. D.N.H.

1991).

         17.    Moreover, objections to a plan may be raised at hearing on the adequacy of the

disclosure statement filed in connection with the plan, where the plan is facially unconfirmable.

The case law is clear that a disclosure statement will not be approved where, as here, it describes

a plan which is fatally flawed and thus incapable of confirmation. See e.g., In re 18 RVC, LLC,

485 B.R. 492 (Bankr. E.D.N.Y. 2012) (“[A] bankruptcy court should not approve a disclosure

statement if the proposed plan which it describes is incapable of confirmation.”); In re GSC, Inc.,

453 B.R. 132, 157 n. 27 (Bankr. S.D.N.Y. 2011); In re Quigley Co., 377 B.R. 110, 115-16 (Bankr.

S.D.N.Y. 2007) (“A disclosure statement must contain ‘adequate information,’ 11 U.S.C. §

1125(a) & (b), describing a confirmable plan. If the plan is patently unconfirmable on its face, the

application to approve the disclosure statement must be denied, as solicitation of the vote would

be futile.”).

         18.    The Debtor’s Disclosure Statement in this case does not contain adequate

information that would enable a hypothetical investor to make an informed judgment about the




                                                  6
  19-11041-shl         Doc 55     Filed 11/11/19     Entered 11/11/19 09:21:01          Main Document
                                                    Pg 7 of 14


      Plan, and the impermissible third party release contained in the Plan renders the Plan patently

      unconfirmable.

II.          The Disclosure Statement Does Not Contain Any Information
             To Support The Debtor’s Projected Operating Income

             19.     According to the Debtor’s estimates, the aggregate amount of claims (excluding

      general unsecured claims) is $635,539.51, which claims are to be paid in full under the Plan. The

      sources of funding for the Pot (excluding litigation proceeds against 1143 Fifth, LLC ) total

      $650,000, of which the majority is comprised of projected net income from the Debtor’s post-

      confirmation operations in the amount of $450,000. Despite the Debtor’s significant reliance on

      its net operating income to provide a substantial portion of the Plan funding, the Disclosure

      Statement contains no historical or other information to support or justify the Debtor’s revenue

      projections and its does not discuss at all the effect of market conditions on the Debtor’s ability to

      procure future contracts. The projections annexed as Exhibit A to the Disclosure Statement

      contains a single line item, with no detail whatsoever, that is simply listed as “Construction

      Income.”

             20.     Disclosure regarding the Debtor’s projected operating income is paramount here

      because the Debtor acknowledges that it will be changing its core business from general contractor

      to construction manager. There is no disclosure about how the Debtor’s change in its core business

      will affect its ability to conduct business and generate income.

             21.     In addition, the Debtor states that it will assume only two construction contracts.

      Presumably, the Debtor will not generate sufficient net income to fund the Pot if it will only be

      working under two contracts. But there is no disclosure regarding any other construction contracts

      the Debtor has entered into and the value of such contracts (if any).




                                                        7
   19-11041-shl         Doc 55      Filed 11/11/19     Entered 11/11/19 09:21:01             Main Document
                                                      Pg 8 of 14


               22.     Given that the Debtor’s net income is a cornerstone of the Debtor’s proposed Plan

       funding, the lack of disclosure regarding the Debtor’s post-confirmation operating income

       precludes approval of the Debtor’s Disclosure Statement.

III.           The Disclosure Statement Does Not Adequately Disclose
               Information Regarding Litigation Claims

               23.     The Disclosure Statement asserts that at least $9,750,000 of general unsecured

       claims are litigation claims should be completely disregarded. Thus, the Debtor believes that over

       75% of all general unsecured claims should be ignored. But the only basis that the Debtor provides

       in the Disclosure Statement for doing so is the single cursory, conclusory, and unsubstantiated

       statement that they are litigation claims that are disputed and not valid.

               24.     The enormous disparity between the total amount of general unsecured claims

       asserted against the Debtor and the Debtor’s estimated amount of general unsecured claims

       receiving distributions under the Plan has a meaningful impact on the recovery creditors can expect

       to receive. Without proper disclosure to support the Debtor’s justification for eliminating nearly

       $10 million in filed claims, creditors cannot make an informed judgement about the Plan.

       Furthermore, the Disclosure Statement does not discuss the projected costs that the Debtor will

       incur to litigate these substantial claims, or how it will pay for such litigation.

IV.            The Disclosure Statement Describes A Patently Unconfirmable Plan,
               Because The Plan Contains An Impermissible Third Party Release

               25.     The Disclosure Statement should not be approved because the Plan contains an

       impermissible third-party release, which makes the Plan unconfirmable as a matter of law.

               26.     Section 1129(a)(1) of the Bankruptcy Code requires a plan to comply with the

       applicable provisions of the Bankruptcy Code. One such applicable provision is section 524(e) of

       the Bankruptcy Code, which states that, with few exceptions, “discharge of a debt of the debtor

       does not affect the liability of any other entity on, or the property of any other entity for, such


                                                          8
19-11041-shl     Doc 55      Filed 11/11/19    Entered 11/11/19 09:21:01          Main Document
                                              Pg 9 of 14


debt.” 11 U.S.C. § 524(e). Most courts that reject injunctions, exculpations and releases protecting

non-debtor third parties do so on the basis that section 524(e) precludes such relief. See Underhill

v. Royal, 769 F.2d 1426, 1432 (9th Cir. 1985) (“The bankruptcy court has no power to discharge

the liabilities of a non-debtor pursuant to the consent of creditors as part of a reorganization plan.

The broad language of section 524(e), limiting the scope of discharge so that it does not ‘affect the

liability of any other entity,’ encompasses this result.”).

       27.     Some courts do allow injunctions that protect non-debtor third parties under

extremely limited circumstances. These courts argue that although section 524(e) prevents the

discharge from releasing non-debtor third parties, the court may, on rare occasions, and for

exceptional circumstances, use its broad equitable powers under section 105 to grant injunctions

against non-debtor third parties. These courts have granted such injunctions under a variety of

theories, but always, either implicitly or explicitly, invoke the bankruptcy court’s section 105

injunctive powers only when they have found authorization for such an injunction elsewhere in

the Bankruptcy Code or under other state or federal law. See In re Chauteaugay Corp., 167 B.R.

776 (S.D.N.Y. 1994) (holding that section 105(a) does not give a bankruptcy court unfettered

discretion to discharge a non-debtor from liability). The language of section 105(a) limits the

bankruptcy court’s discretion to acts necessary or appropriate to carry out the purposes of the

Bankruptcy Code, which was intended to provide protection to debtors, not non-debtors.

       28.     Notwithstanding that courts have on rare occasions granted non-debtor releases, the

Second Circuit views “third party plan releases more skeptically.” In re Dreier LLP, 2010 WL

1707737 (Bankr. S.D.N.Y. Apr. 28, 2010) (referring to Metromedia and discussing with approval).

The Second Circuit Court of Appeals made clear in In re Metromedia Fiber Network, Inc., that the

limited exceptions in which a non-consensual third party injunction could be granted were reserved




                                                   9
19-11041-shl     Doc 55     Filed 11/11/19     Entered 11/11/19 09:21:01          Main Document
                                             Pg 10 of 14


for “rare cases.” 416 F.3d 136, 141 (2d Cir. 2005) (“While none of our cases explains when a

nondebtor release is ‘important’ to a debtor’s plan, it is clear that such a release is proper only in

rare cases.”). The Metromedia court provided the following guidance on issuing third party

releases and injunctions:

               Courts have approved nondebtor releases when: the estate received
               substantial consideration; the enjoined claims were “channeled” to a
               settlement fund rather than extinguished; the enjoined claims would
               indirectly impact the debtor’s reorganization by way of indemnity or
               contribution; and the plan otherwise provided for the full payment of the
               enjoined claims. Nondebtor releases also may be tolerated if the affected
               creditors consent. . . . But this is not a matter of factors and prongs. No
               case has tolerated nondebtor releases absent the finding of circumstances
               that may be characterized as unique. . . . A nondebtor release in a plan of
               reorganization should not be approved absent the finding that truly unusual
               circumstances render the release terms important to success of the plan.

416 F.3d at 142-43 (quotations and citations omitted) (emphasis added). See also In re DBSD N.

Am., Inc., 419 B.R. 179, 218 (Bankr. S.D.N.Y. 2009); In re TCI 2 Holdings, Inc., 428 B.R. 117,

139 (Bankr. D.N.J. 2010) (requiring deletion of plan provision releasing third-party guarantor in

order to confirm plan).

       29.     Judge Wiles has expressed his concerns about the increasing frequency of debtors

including broad, non-consensual third party releases in chapter 11 plans in his recent decision in

In re Aegean Marine Petroleum Network Inc., 599 B.R. 717 (Bankr. S.D.N.Y. 2019), in which the

court denied third party releases under a plan. Judge Wiles noted the following, which apply with

equal force in this case:

               Debtors in chapter 11 cases before me frequently seek third-party releases,
               and they are often presented as though the involuntary imposition of a third-
               party release is no big deal. I disagree. In order to put the issue in context,
               it is worth pausing for a minute to note just what an extraordinary thing it is
               for a court to impose an involuntary third-party release and how different
               that is from what courts ordinarily do.

In re Aegean Marine Petroleum Network Inc., 599 B.R. at 723. Judge Wiles went on to state:



                                                 10
19-11041-shl      Doc 55      Filed 11/11/19     Entered 11/11/19 09:21:01         Main Document
                                               Pg 11 of 14


                 Unfortunately, in actual practice the parties usually ignore this portion of
                 the Metromedia decision, and often seek to impose involuntary releases
                 based solely on the contention that anybody who makes a contribution to
                 the case has earned a third-party release. Almost every proposed Chapter 11
                 Plan that I receive includes proposed releases. Instead of targeting particular
                 claims and explaining why the release of those particular claims is necessary
                 to some feature of the reorganization, the proposed releases usually are as
                 broad as possible in their scope. Parties rarely identify any particular claim
                 that they are even worried about or that has been threatened, and almost
                 never explain why an order extinguishing a particular third-party claim is
                 fair to the party whose claim is being extinguished. Instead, I am usually
                 told that various people have made contributions to the process that have
                 been important in producing a successful outcome, and that they should be
                 rewarded by being given third-party releases.

                 Frankly, if this were enough then releases would never be limited to the
                 “rare” and “unusual” circumstances that the court required in Metromedia.
                 As I observed in the transcript from argument in the Fairway cases (which
                 one of the parties cited here), and as I said earlier during argument today,
                 third-party releases are not a merit badge that somebody gets in return for
                 making a positive contribution to a restructuring. They are not a
                 participation trophy, and they are not a gold star for doing a good job. Doing
                 positive things in a restructuring case – even important positive things – is
                 not enough. Nonconsensual releases are not supposed to be granted unless
                 barring a particular claim is important in order to accomplish a particular
                 feature of the restructuring.

Id. at 726-27.

       30.       As Metromedia teaches, the circumstances here must be “rare,” “unique,” or

“unusual” in order to justify the third-party release under the Debtor’s Plan, which would benefit

the non-debtor Guarantor. But such is not the case here. This is a simple chapter 11 case, in which

the principal of the Debtor gave a personal guarantee to guarantee the completion of work under

the Contract and Amendment and the repayment of any advanced retainages under the

Amendment. To provide the Guarantor a permanent injunction against prosecution would require

the Court in this case to ignore the Second Circuit’s binding mandate that third party releases and

injunctions be reserved for unusual circumstances.




                                                   11
19-11041-shl        Doc 55       Filed 11/11/19        Entered 11/11/19 09:21:01                Main Document
                                                     Pg 12 of 14


         31.      This case does not present any of the instances in which the Metromedia court

deemed susceptible to the granting of a third party release. For example, the Debtor’s estate here

will not be receiving a “substantial” contribution;2 there is no separate fund to which the

Kunofskys’ claims against the Guarantor may be satisfied; and the Debtor has no indemnity or

contribution obligations with respect to the Guarantor. Nor is the third-party release itself

important to the Plan. The third-party release has no effect on the Debtor, the property of the

Debtor’s estate or the Debtor’s reorganization.

         32.      Moreover, as recognized in In re Aegean Marine Petroleum, granting the Guarantor

a third party release in this case would have the anomalous result of providing the non-debtor

Guarantor broader protection than he could have obtained in his own bankruptcy. See In re Aegean

Marine Petroleum Network Inc., 599 B.R. at 726.

         33.      Here, the Kunofskys signed the Amendment and paid approximately $227,000.00

directly to the Debtor’s subcontractors and vendors and in reliance on the Debtor’s and the

Guarantor’s fraudulent assurances that the Project could be completed under the new timetable.

As described above, the Debtor and the Guarantor knew they would be unable to perform under

the Contract or the Amendment; indeed, the Debtor could not even legally operate until July 15,

2019. Thus, in a bankruptcy of the Guarantor, the Kunofskys would be able to seek to preclude

the Guarantor from discharging the Kunfoskys’ claims under the Guarantee, because the

Kunofskys were fraudulently induced to enter the Amendment and make the $227,000.00

advanced retainage payment thereunder.




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  Even if the Debtor’s incredible position that almost $10 million in litigation claims should be valued at $0, the
Guarantor’s contribution of $100,000 (over four years) constitutes less than 3% of the claims of unsecured creditors.
If the litigation claims prove to be valid, the Guarantor’s contribution would constitute less than 1% of the claims of
unsecured creditors.


                                                          12
 19-11041-shl           Doc 55      Filed 11/11/19     Entered 11/11/19 09:21:01       Main Document
                                                     Pg 13 of 14


V.           The Disclosure Statement Describes A Patently Unconfirmable Plan,
             Because The Plan Violates The Absolute Priority Rule

             34.      The Disclosure Statement should not be approved because the Plan violates the

     absolute priority rule, which makes the Plan unconfirmable as a matter of law.

             35.      Section 1129(b)(2)(B)(ii) provides that, with respect to a dissenting class of

     unsecured claims, a plan must be fair and equitable by providing that unsecured claims will be

     paid in full or that no junior class of creditors will receive or retain any property under the plan.

     11 U.S.C. § 1129(b)(2)(B)(ii). Courts have recognized an exception to this “absolute priority rule”

     in cases where equity interest holders make a substantial new value contribution under the plan.

     “For old equity to retain its interests pursuant to the exception, the capital contribution must be

     (1) new, (2) substantial, (3) money or money’s worth, (4) necessary for a successful reorganization

     and (5) reasonably equivalent to the value or interest received.” In re One Times Square Assocs.

     Ltd. P’ship, 159 B.R. 695, 707-08 (Bankr. S.D.N.Y. 1993).

             36.      Furthermore, the new value contribution must be a present contribution, and a

     promise to make future payments cannot qualify as new value. See In re Woodmere Investors Ltd.

     P’ship, 178 B.R. 346, 363 (Bankr. S.D.N.Y. 1995) (“[I]t is settled law that a promise to pay future

     income is not ‘new value.’”); In re 8315 Fourth Ave. Corp., 172 B.R. 725, (Bankr. E.D.N.Y. 1994)

     (“Courts have routinely held that even a promissory note issued by an ‘equity holder’ is not money

     or money’s worth because it is not a present contribution.”) (collecting cases); see also In re G-I

     Holdings Inc., 420 B.R. 216, 269 (D.N.J. 2009) (“To invoke the new value exception to the

     absolute priority rule, the qualifying new value contribution must be … proffered by the debtor at

     the outset, i.e., ‘up front.’”).

             37.      Here, there is no question that the Plan violates the absolute priority rule, because

     unsecured creditors are proposed to receive pennies on the dollar for their claims while the



                                                        13
19-11041-shl     Doc 55     Filed 11/11/19     Entered 11/11/19 09:21:01         Main Document
                                             Pg 14 of 14


Debtor’s pre-petition equity holders will retain their ownership interests in the Debtor. Moreover,

the new value contribution proposed under the Plan—a promise to pay future earnings from the

principals in the amount of $200,000 over four years, with the first $50,000 paid one year after

the effective date of the Plan—is, on its face, not sufficient to constitute new value justifying an

exception to the absolute priority rule. Accordingly, the Plan fails to comply with section

1129(b)(2)(B)(ii) of the Bankruptcy and confirmation must be denied.

       WHEREFORE, the Kunofskys respectfully request that this Court deny approval of the

Disclosure Statement and grant such other relief as may be just and proper.

Dated: New York, New York
       November 11, 2019

                                                     RUBIN LLC

                                                     By:     /s/ Paul A. Rubin
                                                             Paul A. Rubin
                                                             Hanh V. Huynh

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                                                14
